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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                         )   CASE NO.: 1:22CR721
                                                   )
                Plaintiff,                         )   JUDGE CHRISTOPHER A. BOYKO
                                                   )
        v.                                         )
                                                   )
 ISAAC WOOLLEY,                                    )   GOVERNMENT’S MOTION
                                                   )   FOR EXTENSION OF TIME TO
                Defendant.                         )   CONDUCT 18 U.S.C. § 4243(C)
                                                   )   HEARING

       The United States of America, through its counsel, Carol M. Skutnik, Acting United

States Attorney, and Brian S. Deckert and Daniel J. Riedl, Assistant United States Attorneys,

hereby respectfully moves this Court, pursuant to 18 U.S.C. § 4247(b) for an extension of time in

which to conduct an 18 U.S.C. § 4243(c) hearing.

       On February 7, 2025, this Court issued a special verdict in this matter finding Defendant

Not Guilty only by Reason of Insanity. The Court issued an order committing Defendant to the

custody of the Bureau of Prisons (“BOP”) for psychiatric or psychological treatment and

evaluation pursuant to 18 U.S.C. § 4243(a). (R. 43: Order, PageID 245-46). A hearing was

scheduled for March 17, 2025, at 2:00 p.m. and BOP was directed to file a motion if additional

time was necessary.

       The Government contacted BOP on March 11, 2025, to determine Defendant’s status and

ask whether a report would be forthcoming. Government’s counsel learned that Defendant was

at FCI Lewisburg in Pennsylvania. Government’s counsel called FCI Lewisburg and learned

that Defendant was designated on February 28, 2025, to FMC Devens in Massachusetts for his

evaluation. Defendant arrived at FCI Lewisburg on March 10, 2025, and had yet to be
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transported to FMC Devens. The Defendant’s status was listed as “in transit” prior to his arrival

at FCI Lewisburg. On March 13, 2025, Government’s counsel communicated with the assigned

examiner at FMC Devens, Dr. Diana Hamilton, and informed her of the pending hearing date,

sent her this Court’s order, and requested that the facility seek an extension of time.

Government’s counsel was informed that once Defendant arrives at FMC Devens, a report would

be made to the Court and a request for additional time would be made.

       It appears that Defendant has not yet arrived at FMC Devens because, as of the date of

this motion, the BOP “inmate locator” lists Defendant as being at FCI Lewisburg. It therefore

does not appear that the report will be available for the March 17, 2025, hearing, or that

Defendant will be back in the district to attend the hearing.1 For these reasons, the Government

is making a request for an additional 30 days pursuant to 18 U.S.C. § 4247(b) in order to allow

sufficient time for Defendant’s evaluation to be conducted, for receipt of the report, and for

Defendant to be returned to the Northern District of Ohio. Government’s counsel makes this

request not to hinder or delay justice, but to ensure that the ends of justice are properly served, as




1
  The proper remedy for a hearing not occurring during the prescribed time limit is not release,
but rather to allow for more time to conduct the evaluation as release “would compromise the
intent of the statute.” United States v. Bohe, 2005 WL 1026701 (ND Dist.) *2; See also United
States v. Conrad, 776 F.3d 253 (4th Cir. 2015).


                                                  2
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there is good cause to find that additional time is necessary to observe and evaluate Defendant

pursuant to the Court’s order.



                                                      Respectfully submitted,

                                                      CAROL M. SKUTNIK
                                                      Acting United States Attorney

                                              By:    /s/ Brian S. Deckert
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